          Case 2:18-cv-00244-REB Document 4 Filed 01/15/19 Page 1 of 3



APRIL M. LINSCOTT, ISB #7036
OWENS, MCCREA & LINSCOTT, PLLC
8596 N. Wayne Drive, Ste. A
Hayden, ID 83835
Telephone: (208) 762-0203
Facsimile: (208) 762-0303
E-mail: alinscott@omllaw.com

Attorney for Plaintiff


                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO

 ROBIN D. ANDREWS, individually, and as                 Case No. 2:18-cv-00244-EJL
 Personal Representative of the Estate of Craig
 A. Johnson,                                            MOTION FOR RELIEF FROM
                                                        ORDER OF DISMISSAL
                         Plaintiff,

 vs.

 BONNER COUNTY, a political subdivision of
 the State of Idaho, BONNER COUNTY
 SHERIFF’S OFFICE, a department of Bonner
 County, BONNER COUNTY SHERIFF
 DARYL WHEELER, in his individual and
 official capacity, GARY MADDEN, in his
 individual and official capacity, SHAWN
 DEEM, in his individual and official capacity,
 JORDAN THOMSON, in his individual and
 official capacity, TED SWANSTROM, in his
 individual and official capacity, PHIL STELLA,
 in his individual and official capacity, and TIM
 REYNOLDS, in his individual and official
 capacity, and DOES 1-10,

                         Defendants.

       COMES NOW Plaintiff, by and through her counsel of record, and hereby moves the Court

for relief from judgment or order, pursuant to Fed. R. Civ. P. 60. Specifically, Plaintiff requests

that the Order entered January 11, 2019 (Dkt. 3) dismissing the Plaintiff’s case with prejudice be

vacated, based on the following facts and grounds:


MOTION FOR RELIEF FROM ORDER OF DISMISSAL - 1
            Case 2:18-cv-00244-REB Document 4 Filed 01/15/19 Page 2 of 3



       1.      On June 1, 2018, Plaintiff filed a Motion to Set Bond Amount pursuant to Idaho

Code § 6-610, asking the Court to determine the appropriate bond amount in order to bring her

claims for the wrongful death of her husband.

       2.      On June 19, 2018, the Court issued an Order setting the bond amount for $5,000.00.

       3.      Since June 19, 2018, the Plaintiff has not filed her Complaint, or otherwise

proceeded with her action, due to the following reasons:

               a)     Idaho Code § 6-610 provides the plaintiff to post “a written undertaking

       with at least two (2) sufficient sureties in an amount to be fixed by the court.” Therefore,

       Plaintiff needs to post two bonds at $5,000.00 each, for a total of $10,000.00;

               b)     Bonds for this type of surety do not exist; therefore, the Plaintiff must post

       cash for the bond amount;

               c)     The Plaintiff has needed time to save the money for the sureties and/or

       determine whether she intends to continue forward with her claims, based on the surety

       amount and her emotional state after her husband’s death;

               d)     The Statute of Limitations does not run on Plaintiff’s claims until

       September 26, 2019; therefore, Plaintiff believed she has ample time to both post the surety

       and make a final determination as to whether to pursue the action;

               e)     Federal Rule of Civil Procedure 3 provides that a civil action is commenced

       by filing a Complaint. Because Plaintiff has yet to file her Complaint, she believed that a

       civil action subject to the civil rules had yet to be commenced; and, therefore, there was no

       action to proceed with or to dismiss voluntarily or otherwise; and

               f)     Because the Defendants have never been served with the Summons and

       Complaint, there has been no prejudice to them because they have not incurred any time or

       expense on the action.

MOTION FOR RELIEF FROM ORDER OF DISMISSAL - 2
            Case 2:18-cv-00244-REB Document 4 Filed 01/15/19 Page 3 of 3



       4.      It would be unjust to treat Plaintiff’s claims as determined on the merits when the

claims were never filed with the Court.

       This Motion is based on the record contained in this matter.

       DATED this 15th day of January, 2019.

                                             OWENS, McCREA & LINSCOTT, PLLC


                                             /s/ April M. Linscott
                                             APRIL M. LINSCOTT, ISB#7036
                                             Attorneys for Plaintiff




MOTION FOR RELIEF FROM ORDER OF DISMISSAL - 3
